RECEIVED MAY 02 2019

 

 

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FOR THE NORTHERN DISTRICT OF [OWA

 

EASTERN DIVISION

 

UNITED STATES OF AMERICA

 

Case No. (8-CR- 1023
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